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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                                                Case No.: 1:21-cr-00609-APM-1

        v.

JEREMY BROWN.
_____________________________/

                                          NOTICE OF CORRECTION

        COMES NOW Jeremy Brown, via undersigned counsel, and files this Notice of Correction to the

Motion for Stay of Proceedings (Temporary) filed July 22nd, 2024 (ECF #61) as follows:

        1. The Motion for Stay of Proceedings (Temporary) (ECF #61) included an attached proposed Motion

             to Suppress.

        2. The Motion to Suppress includes Exhibit B – ‘Affidavit for Search Warrant’, however, the uploaded

             and filed Exhibit B only erroneously contained the Application for a Search Warrant for Brown’s

             phone.

        3. The attached Exhibits B (1 and 2) ‘Application and Affidavit for Search Warrant’ is the correct

             Application and Affidavit for the Search Warrant in its entirety (bifurcated only due to maximum

             upload capacity per file on Pacer).

        4. Said Exhibit B (1 and 2) is attached hereto and is the correct Exhibit B referred to in the proposed

             Motion to Suppress attached to the Motion for Stay of Proceedings (Temporary) (ECF #61) .



                                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Correction has been
furnished via Electronic Filing to Rebekah Lederer, AUSA, Eli Ross, AUSA, and Kathryn Racowzsky, AUSA,
Office of the U.S. Attorney, District of Columbia, and all other parties listed on this 31st day of July, 2024.

                                                        /S/ Maria T. Rodriguez
                                                        ______________________________
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